                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                Case No: 3:02CR233

UNITED STATES OF AMERICA,

                            Plaintiff,
                                                            ORDER ADMITTING
       v.                                                  STACEY VAN MALDEN
                                                              PRO HAC VICE
JIAN DONG LIN,

                            Defendant.


         FOR GOOD CAUSE SHOWN, and on Motion to Admit Counsel Pro Hac Vice, IT IS

HEREBY ORDERED, ADJUDGED AND DECREED that Stacey Van Malden of Goldberger

& Dubin, P.C. in New York, New York, be admitted to practice pro hac vice before this Court in

order to represent Defendant, Jian Dong Lin, in the above-captioned case.




                                               Signed: March 22, 2006




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